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bocarrasco47@outlook.com

From:                Bryce Carrasco
Sent:                Saturday, August 28, 2021 9:04 AM
To:                  Moffet, Brian L.
Subject:             Notice


Just giving you a heads up so you can advise your client that I am going to start ripping emails to the SEC.

Also, I am putting you on notice that if you pull that garbage with 30 sham exhibits again I’m moving for sanctions. The
fact that you were shameless enough to do that baffles me. That stunt was nothing short of fraud on the court which
you should get disbarred for having done.

Thanks.

Bryce Carrasco
Mobile: (410) 858‐7432
Email: bocarrasco47@outlook.com




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